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                              Exhibit 6
3:21-cv-03302-MBS-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-6                    Page 2 of 10



  From:              Hollingsworth, Jennifer J.
  To:                zzz.External.chris@boroughsbryant.com; zzz.External.MMoore@nexsenpruet.com
  Cc:                Pergament, Adam; Christopher Mills; Shedd, Michael; Limehouse, Thomas; Lambert, Grayson; La"Jessica
                     Stringfellow; Rob Tyson; Lisle Traywick; Gore, John M.; Kenny, Stephen J.; Mathias, Andrew A.; Wells, Erica H.;
                     Barber, Hamilton B.; zzz.External.Mparente@nexsenpruet.com; Ricard, Rhett D.; Wilkins, William W.;
                     zzz.External.KDiamaduros@nexsenpruet.com; Trinkley, Jane; Crum, Liz; Burchstead, Michael; Nicholson,
                     Thomas; zzz.External.achaney@aclusc.org; zzz.External.acepedaderieux@aclu.org;
                     zzz.External.aingram@naacpldf.org; zzz.External.jcusick@naacpldf.org; Leah Aden; zzz.External.pyan@aclu.org;
                     zzz.External.raudain@naacpldf.org; zzz.External.sosaki@aclu.org; Gryll, Sarah; zzz.External.strivedi@aclu.org;
                     Stuart Naifeh; Freedman, John A.; Hindley, John; Colarusso, Gina
  Subject:           RE: SC NAACP v. McMaster - Plaintiffs" Responses and Objections to House Defendants" Requests [IWOV-
                     NPCOL1.FID2240915]
  Date:              Thursday, February 10, 2022 4:54:43 PM


   External E-mail

  Dear Chris,

  Thank you for the letter. I see no need for further exchange on these issues tomorrow morning.

  My best,
  Jennifer




  Jennifer J. Hollingsworth
  Member
  Nexsen Pruet, LLC
  1230 Main Street, Suite 700
  Columbia, SC 29201
  T: (803) 540-2112, F: (803) 727-1446
  JHollingsworth@nexsenpruet.com

  www.nexsenpruet.com




  From: Chris Bryant <chris@boroughsbryant.com>
  Sent: Thursday, February 10, 2022 3:52 PM
  To: Moore, Mark C. <MMoore@nexsenpruet.com>
  Cc: Pergament, Adam <Adam.Pergament@arnoldporter.com>; Hollingsworth, Jennifer J.
  <JHollingsworth@nexsenpruet.com>; Christopher Mills <cmills@spero.law>; Shedd, Michael
  <MShedd@governor.sc.gov>; Limehouse, Thomas <TLimehouse@governor.sc.gov>; Lambert,
  Grayson <GLambert@governor.sc.gov>; La'Jessica Stringfellow <lstringfellow@robinsongray.com>;
  Rob Tyson <rtyson@robinsongray.com>; Lisle Traywick <ltraywick@robinsongray.com>; Gore, John
  M. <jmgore@jonesday.com>; Kenny, Stephen J. <skenny@jonesday.com>; Mathias, Andrew A.
  <AMathias@nexsenpruet.com>; Wells, Erica H. <EWells@nexsenpruet.com>; Barber, Hamilton B.
  <HBarber@nexsenpruet.com>; Parente, Michael A. <MParente@nexsenpruet.com>; Ricard, Rhett D.
  <RRicard@nexsenpruet.com>; Wilkins, William W. <BWilkins@nexsenpruet.com>; Diamaduros,
  Konstantine P <KDiamaduros@nexsenpruet.com>; Trinkley, Jane <JTrinkley@burr.com>; Crum, Liz
  <lcrum@burr.com>; Burchstead, Michael <mburchstead@burr.com>; Nicholson, Thomas
3:21-cv-03302-MBS-TJH-RMG           Date Filed 03/21/22       Entry Number 194-6         Page 3 of 10



  <tnicholson@elections.sc.gov>; achaney@aclusc.org; acepedaderieux@aclu.org; Antonio Ingram
  <aingram@naacpldf.org>; jcusick@naacpldf.org; Leah Aden <laden@naacpldf.org>; pyan@aclu.org;
  raudain@naacpldf.org; sosaki@aclu.org; Gryll, Sarah <sarah.gryll@arnoldporter.com>;
  strivedi@aclu.org; Stuart Naifeh <snaifeh@naacpldf.org>; Freedman, John A.
  <John.Freedman@arnoldporter.com>; Hindley, John <John.Hindley@arnoldporter.com>; Colarusso,
  Gina <Gina.Colarusso@arnoldporter.com>
  Subject: Re: SC NAACP v. McMaster - Plaintiffs' Responses and Objections to House Defendants'
  Requests [IWOV-NPCOL1.FID2240915]


  {EXTERNAL EMAIL}


  Mark:

  Attached please find a letter in response to House Defendants' February 4th letter. To the
  extent there is still a need to meet and confer, we can be available tomorrow at either 9:00 or
  9:30.

  Chris




  Christopher J. Bryant | Partner
  BOROUGHS BRYANT, LLC
  1122 Lady Street, Suite 208 | Columbia, SC 29201
  E: chris@boroughsbryant.com | C: 843.779.5444


  On Thu, Feb 10, 2022 at 3:29 PM Moore, Mark C. <MMoore@nexsenpruet.com> wrote:

    Adam:

    Jennifer and I are both available tomorrow at either 9 or 9:30. We have not received your
    promised letter yet nor have we received a response to our question about when we can
    expect your privilege log.

    We hope the Plaintiffs will have someone on the phone who can speak with authority on the
    issues we raised in our letter. If we do not receive satisfactory responses to the issues raised
    in our letter in your written response and during the anticipated meet and confer, we will
    be filing our motion to compel in short order and will request that the court hear that
    motion during the hearing that has been set for Tuesday.

    Best,

    Mark

    Sent from my iPhone
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        On Feb 9, 2022, at 7:54 PM, Moore, Mark C. <MMoore@nexsenpruet.com>
        wrote:

        ﻿ Adam:

        We disagree with your assertions about our letter. We will, however, be
        available to meet Friday after we receive and review your written response.
        Please let us know precisely when we can expect to receive your privilege log.

        Best,

        Mark

        Sent from my iPhone


                    On Feb 9, 2022, at 7:48 PM, Pergament, Adam
                    <Adam.Pergament@arnoldporter.com> wrote:

                ﻿

                {EXTERNAL EMAIL}


                Mark,

                We disagree that you are “required to file a motion to compel,” and we
                continue to believe that a meet and confer would be the most
                productive course, if only because, as far as we can tell, House
                Defendants’ letter does not identify a genuine dispute. We remain
                available to discuss tomorrow – either at noon, when you requested a
                written response to your letter, or following your deposition – if you
                cannot wait until Friday morning.

                If you are unwilling to meet and confer without a written response, we
                will provide one tomorrow, and we can meet on Friday morning. Your
                demand for a privilege log as a precondition to a meet and confer is not
                appropriate. However, Plaintiffs intend to provide a privilege log this
                week.

                Thank you.


                From: Moore, Mark C. <MMoore@nexsenpruet.com>
                Sent: Wednesday, February 9, 2022 3:44 PM
                To: Pergament, Adam <Adam.Pergament@arnoldporter.com>
                Cc: Hollingsworth, Jennifer J. <JHollingsworth@nexsenpruet.com>;
3:21-cv-03302-MBS-TJH-RMG       Date Filed 03/21/22      Entry Number 194-6         Page 5 of 10



             zzz.External.chris@boroughsbryant.com <chris@boroughsbryant.com>;
             Christopher Mills <cmills@spero.law>; Shedd, Michael
             <MShedd@governor.sc.gov>; Limehouse, Thomas
             <TLimehouse@governor.sc.gov>; Lambert, Grayson
             <GLambert@governor.sc.gov>; La'Jessica Stringfellow
             <lstringfellow@robinsongray.com>; Rob Tyson
             <rtyson@robinsongray.com>; Lisle Traywick
             <ltraywick@robinsongray.com>; Gore, John M.
             <jmgore@jonesday.com>; Kenny, Stephen J. <skenny@jonesday.com>;
             Mathias, Andrew A. <AMathias@nexsenpruet.com>; Wells, Erica H.
             <EWells@nexsenpruet.com>; Barber, Hamilton B.
             <HBarber@nexsenpruet.com>;
             zzz.External.Mparente@nexsenpruet.com
             <Mparente@nexsenpruet.com>; Ricard, Rhett D.
             <RRicard@nexsenpruet.com>; Wilkins, William W.
             <BWilkins@nexsenpruet.com>;
             zzz.External.KDiamaduros@nexsenpruet.com
             <KDiamaduros@nexsenpruet.com>; Trinkley, Jane
             <JTrinkley@burr.com>; Crum, Liz <lcrum@burr.com>; Burchstead,
             Michael <mburchstead@burr.com>; Nicholson, Thomas
             <tnicholson@elections.sc.gov>; zzz.External.achaney@aclusc.org
             <achaney@aclusc.org>; zzz.External.acepedaderieux@aclu.org
             <acepedaderieux@aclu.org>; Antonio Ingram
             <aingram@naacpldf.org>; zzz.External.jcusick@naacpldf.org
             <jcusick@naacpldf.org>; Leah Aden <laden@naacpldf.org>;
             zzz.External.pyan@aclu.org <pyan@aclu.org>;
             zzz.External.raudain@naacpldf.org <raudain@naacpldf.org>;
             zzz.External.sosaki@aclu.org <sosaki@aclu.org>; Gryll, Sarah
             <Sarah.Gryll@arnoldporter.com>; zzz.External.strivedi@aclu.org
             <strivedi@aclu.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Freedman,
             John A. <John.Freedman@arnoldporter.com>; Hindley, John
             <John.Hindley@arnoldporter.com>; Colarusso, Gina
             <Gina.Colarusso@arnoldporter.com>
             Subject: Re: SC NAACP v. McMaster - Plaintiffs' Responses and
             Objections to House Defendants' Requests [IWOV-
             NPCOL1.FID2240915]

              External E-mail

             Adam:

             The letter to which you refer was sent last Friday. As I assume you
             know, we have 3 depositions of your experts scheduled for
             tomorrow that Jennifer, Andrew and I are taking— and we have
             yet to receive much in the way of meaningful discovery from your
             team.
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             We are also spending substantial time and energy producing a
             privilege log that your team insisted we produce ( which has
             limited our ability to continue to produce documents to you)
             although we have yet to receive one from your team. Finally, I
              would remind you that discovery is set to close in 8 days.

             We are willing to conduct a meet and confer with you Friday
             morning provided we receive a letter from you fully responding to
             our letter by noon tomorrow—to be followed by a draft privilege
             log tomorrow evening. If we do not receive a fulsome response to
             our letter by noon tomorrow, we will believe we will be required
             to proceed with a motion to compel. In our view, the Plaintiffs
             have had more than sufficient time to respond to the issues we have
             raised in Jennifer’s letter dated February 4th.

             Best,

             Mark

             Sent from my iPhone


                     On Feb 9, 2022, at 2:57 PM, Pergament, Adam
                     <Adam.Pergament@arnoldporter.com> wrote:

                     ﻿

                     {EXTERNAL EMAIL}


                     Ms. Hollingsworth,

                     Thank you for your letter concerning Plaintiffs’ discovery
                     responses. We disagree with several assertions in your
                     letter, but rather than respond point by point, we propose
                     setting up a meet-and-confer call to discuss your
                     concerns. Please advise if you are available either
                     tomorrow, February 10, in the afternoon, or Friday,
                     February 11, in the morning.

                     Thank you.


                     From: Hollingsworth, Jennifer J.
                     <JHollingsworth@nexsenpruet.com>
                     Sent: Friday, February 4, 2022 8:45 PM
                     To: zzz.External.chris@boroughsbryant.com
                     <chris@boroughsbryant.com>; Christopher Mills
3:21-cv-03302-MBS-TJH-RMG      Date Filed 03/21/22       Entry Number 194-6    Page 7 of 10



                  <cmills@spero.law>; Shedd, Michael
                  <mshedd@governor.sc.gov>; Limehouse, Thomas
                  <tlimehouse@governor.sc.gov>; Lambert, Grayson
                  <glambert@governor.sc.gov>; La'Jessica Stringfellow
                  <lstringfellow@robinsongray.com>; Rob Tyson
                  <rtyson@robinsongray.com>; Lisle Traywick
                  <ltraywick@robinsongray.com>; Gore, John M.
                  <jmgore@jonesday.com>; Kenny, Stephen J.
                  <skenny@jonesday.com>; Mathias, Andrew A.
                  <AMathias@nexsenpruet.com>; Wells, Erica H.
                  <EWells@nexsenpruet.com>; Barber, Hamilton B.
                  <HBarber@nexsenpruet.com>;
                  zzz.External.MMoore@nexsenpruet.com
                  <MMoore@nexsenpruet.com>;
                  zzz.External.Mparente@nexsenpruet.com
                  <Mparente@nexsenpruet.com>; Ricard, Rhett D.
                  <RRicard@nexsenpruet.com>; Wilkins, William W.
                  <BWilkins@nexsenpruet.com>;
                  zzz.External.KDiamaduros@nexsenpruet.com
                  <KDiamaduros@nexsenpruet.com>; Trinkley, Jane
                  <jtrinkley@burr.com>; Crum, Liz <lcrum@burr.com>;
                  Burchstead, Michael <mburchstead@burr.com>;
                  Nicholson, Thomas <tnicholson@elections.sc.gov>
                  Cc: zzz.External.achaney@aclusc.org
                  <achaney@aclusc.org>;
                  zzz.External.acepedaderieux@aclu.org
                  <acepedaderieux@aclu.org>; Antonio Ingram
                  <aingram@naacpldf.org>;
                  zzz.External.jcusick@naacpldf.org
                  <jcusick@naacpldf.org>; Leah Aden
                  <laden@naacpldf.org>; zzz.External.pyan@aclu.org
                  <pyan@aclu.org>; zzz.External.raudain@naacpldf.org
                  <raudain@naacpldf.org>; zzz.External.sosaki@aclu.org
                  <sosaki@aclu.org>; Gryll, Sarah
                  <Sarah.Gryll@arnoldporter.com>;
                  zzz.External.strivedi@aclu.org <strivedi@aclu.org>; Stuart
                  Naifeh <snaifeh@naacpldf.org>; Freedman, John A.
                  <John.Freedman@arnoldporter.com>; Hindley, John
                  <John.Hindley@arnoldporter.com>; Pergament, Adam
                  <Adam.Pergament@arnoldporter.com>; Colarusso, Gina
                  <Gina.Colarusso@arnoldporter.com>
                  Subject: RE: SC NAACP v. McMaster - Plaintiffs' Responses
                  and Objections to House Defendants' Requests [IWOV-
                  NPCOL1.FID2240915]
3:21-cv-03302-MBS-TJH-RMG       Date Filed 03/21/22       Entry Number 194-6   Page 8 of 10



                  External E-mail

                  Dear Chris,

                  Attached please find a discovery consultation letter
                  directed to Plaintiffs.

                  My best,
                  Jennifer




                  Jennifer J. Hollingsworth
                  Member
                  Nexsen Pruet, LLC
                  1230 Main Street, Suite 700
                  Columbia, SC 29201
                  T: (803) 540-2112, F: (803) 727-1446
                  JHollingsworth@nexsenpruet.com

                  www.nexsenpruet.com
                  <image001.png>


                  From: Chris Bryant <chris@boroughsbryant.com>
                  Sent: Wednesday, February 2, 2022 6:02 PM
                  To: Christopher Mills <cmills@spero.law>; Shedd, Michael
                  <mshedd@governor.sc.gov>; Limehouse, Thomas
                  <tlimehouse@governor.sc.gov>; Lambert, Grayson
                  <glambert@governor.sc.gov>; La'Jessica Stringfellow
                  <lstringfellow@robinsongray.com>; Rob Tyson
                  <rtyson@robinsongray.com>; Lisle Traywick
                  <ltraywick@robinsongray.com>; Gore, John M.
                  <jmgore@jonesday.com>; Kenny, Stephen J.
                  <skenny@jonesday.com>; Mathias, Andrew A.
                  <AMathias@nexsenpruet.com>; Wells, Erica H.
                  <EWells@nexsenpruet.com>; Barber, Hamilton B.
                  <HBarber@nexsenpruet.com>; Hollingsworth, Jennifer J.
                  <JHollingsworth@nexsenpruet.com>; Moore, Mark C.
                  <MMoore@nexsenpruet.com>; Parente, Michael A.
                  <MParente@nexsenpruet.com>; Ricard, Rhett D.
                  <RRicard@nexsenpruet.com>; Wilkins, William W.
                  <BWilkins@nexsenpruet.com>; Diamaduros, Konstantine
                  P <KDiamaduros@nexsenpruet.com>; Trinkley, Jane
                  <jtrinkley@burr.com>; Crum, Liz <lcrum@burr.com>;
                  Burchstead, Michael <mburchstead@burr.com>;
                  Nicholson, Thomas <tnicholson@elections.sc.gov>
3:21-cv-03302-MBS-TJH-RMG      Date Filed 03/21/22      Entry Number 194-6    Page 9 of 10



                  Cc: Allen Chaney <achaney@aclusc.org>; Adriel I. Cepeda
                  Derieux <acepedaderieux@aclu.org>; Antonio Ingram
                  <aingram@naacpldf.org>; John Cusick
                  <jcusick@naacpldf.org>; Leah Aden
                  <laden@naacpldf.org>; Patricia Yan <pyan@aclu.org>;
                  Raymond Audain <raudain@naacpldf.org>; Samantha
                  Osaki <sosaki@aclu.org>; Gryll, Sarah
                  <sarah.gryll@arnoldporter.com>; Somil Trivedi
                  <strivedi@aclu.org>; Stuart Naifeh
                  <snaifeh@naacpldf.org>; Freedman, John A.
                  <John.Freedman@arnoldporter.com>; Hindley, John
                  <John.Hindley@arnoldporter.com>; Pergament, Adam
                  <Adam.Pergament@arnoldporter.com>; Colarusso, Gina
                  <Gina.Colarusso@arnoldporter.com>
                  Subject: SC NAACP v. McMaster - Plaintiffs' Responses and
                  Objections to House Defendants' Requests


                  {EXTERNAL EMAIL}


                  Counsel,

                  Attached please find Plaintiffs' Objections and
                  Responses to House Defendants' (1) First Set of
                  Requests for Admission; (2) First Set of Requests for
                  Production; (3) First Set of Interrogatories to SC
                  NAACP; and (4) First Set of Interrogatories to Taiwan
                  Scott.

                  Chris

                  <image003.png>
                  Christopher J. Bryant | Partner
                  BOROUGHS BRYANT, LLC
                  1122 Lady Street, Suite 208 | Columbia, SC 29201
                  E: chris@boroughsbryant.com | C: 843.779.5444
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